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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

DROPBOX, INC.,
           Plaintiff/Counter-Defendant,

       v.

MOTION OFFENSE, LLC,
                                                 Civil Action No.: 6:20-cv-00251-ADA
          Defendant/Counter-Plaintiff.



MOTION OFFENSE, LLC,
          Plaintiff,

       v.
                                                 Civil Action No.: 6:21-cv-758-ADA
DROPBOX, INC.,
                       Defendant.


                                             ORDER

       Pending before the Court is the Unopposed Motion to Withdraw as Counsel of Dropbox,

Inc. (“Dropbox”). Having considered Dropbox’s Motion, the Court hereby GRANTS the Motion.

       IT IS THEREFORE ORDERED that Christine Duh is withdrawn as counsel of record

for Dropbox. The Court directs the Clerk to remove Christine Duh from the Court’s CM/ECF

service list as counsel of record for Dropbox.


       SIGNED THIS             day of             , 2022.




                                             ALAN D. ALBRIGHT
                                             UNITED STATES DISTRICT JUDGE
